Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 1 of 28 PagelD: 532

EXHIBIT 1
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 2 of 28 PagelD: 533

UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF NEW JERSEY

WEMA HOOVER,

Plaintiff, CASE NO.: 3:14-cev-05786-MAS-DEA
Vv.
BRITON MANAGEMENT &
EMPLOYEES LEASING SERVICES,
INC., ef al.,

Defendants.

CLASS ACTION SETTLEMENT AGREEMENT

This Class Action Settlement Agreement (the “Settlement Agreement”) is

made and entered by and among Named Plaintiff Wema Hoover, individually and
on behalf of a class of similarly situated persons, and Defendants Philip A. Besler,
Bryon Management & Employee Leasing Services, Inc., Besler & Co., Inc., the
Administrative Committee for the Brijon Management & Employee Leasing
Services, Inc. Employee Stock Ownership Plan, CarolBri, LLC, and Michael
Mullaugh, all by and through counsel for the respective parties.

1. DEFINITIONS

1.1. Rules of Definition, Unless otherwise indicated, defined terms

include the plural as well as the singular. Any term defined by reference to a

section of this Settlement Agreement shall have the same meaning throughout the
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 3 of 28 PagelD: 534

entire Settlement Agreement and, unless such meaning is expressly amended
subsequently in writing by the Parties or the Court, such meaning shall remain in
effect whether or not the Settlement Agreement is subsequently amended or
modified. Unless the context otherwise requires, the words “include”, “includes”
and “including” are not limiting and shall be deemed to be followed by the words
“without limitation”; and the terms “hereof’, “herein”, “hereunder” and
comparable terms refer to this entire Settlement Agreement and not to any
particular article, section, subsection, or subdivision the Settlement Agreement.

1.2. Defined Terms. As used in this Settlement Agreement, the following

terms have the meanings specified below:
1.2.1, “Action” means that lawsuit currently pending-in the United States

Disirict Court for the District of New Jersey captioned Hoover _v. Brijon

Management & Employee Leasing Services, inc., et al., Case No. 3:14-cv-05786-

MAS-DEA.

1.2.2. “Beneficiary” or “Beneficiaries” shall have the meaning given to the
term in 29 U.S.C. § 1002(8).

1.2.3, “Claims” means any and all manner of claims, including, actions,
causes of actions, potential actions, rights to enforce, suits, controversies, costs,

attorneys’ fees and expenses, damages, losses, obligations, liabilities, judgments,
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 4 of 28 PagelD: 535

and demands whatsoever, known or unknown, suspect and unsuspected, accrued or
unaccrued, whether class, individual, or otherwise, arising under the laws,
regulations, or common law of the United States of America, any state or political
subdivision thereof, or any foreign country or jurisdiction, in law, in contract, or in
equity, and regardless of legal theory.

1.2.4. “Claims Administrator” means the Garden City Group, Inc., a non-

party appointed by the Court to distribute the Class Notices.

1.2.5. “Class Counsel” means F einberg Jackson Worthman & Wasow, LLP.

1.2.6. “Class Notice” or “Class Notices” means the notice appended as

Attachment | to the form of Preliminary Approval Order attached hereto as Exhibit
4.

1.2.7, “Class Period” means the period from September 18, 2008 through
September 18, 2014, inclusive.

1.2.8. “Complaint” means the Amended Class Action Complaint filed in
this Action on October 15, 2015 (ECF No. 53) which superseded and replaced the
original Complaint filed in this Action.

1.2.9. “Court” means the United States District Court for the District of
‘New Jersey, which presides over the Action.

1.2.10. “Defendants” means Philip A. Besler (““Besler”), Brijon Management
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 5 of 28 PagelD: 536

& Employee Leasing Services, Inc.. (“Brijon”), Besler & Co., Inc. (“BeslerCo”),
the Administrative Committee for the Brijon Employee Stock Ownership Plan
(“Committee”), CarolBri, LLC (“CarolBri”), and Michael Mullaugh.

1.2.11. “DOL” means the United States Department of Labor.

1.2.12. “Effective Date of Settlement” means the date on which all of the

conditions to settlement set forth in Section 4.1 through 4.4 of this Settlement
Agreement have been fully satisfied or waived.

1.2.13. “ERISA” means the Employee Retirement Income Security Act of
1974, 29 U.S.C. § 1001, et seg., as amended, including all regulations promulgated
thereunder.

1.2.14. “ESOP” means the Brijon Management & Employee Leasing

Services, Inc. Employee Stock Ownership Plan.

1.2.15. “Execution Date” means the date of the last of the signatures
required to form the agreement embodied in this Settlement Agreement.

1.2.16. “Final”, with respect to a court order, means the later of (i) if there
is an appeal from a court order, the date of the final decision on appeal and the
expiration of the time for any further judicial review whether by appeal,
reconsideration or a petition for a writ of certiorari and, if certiorari is granted, the

date of final decision of the order following review pursuant to the grant; or (ii) the
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 6 of 28 PagelD: 537

date of final dismissal of any appeal from the order or the final dismissal of any
proceeding on certiorari to review the order; or (iii) the expiration of the time for
the filing or noticing of any appeal from the order (or, if the date for taking an
appeal or seeking review of the order shall be extended beyond this time by order
of the issuing court, by operation of law or otherwise, or if such extension is
requested, the date of expiration of any extension if any appeal or review is not
sought).

1.2.17. “Fairness Hearing” means the hearing at or after which the Court

will be asked to make a final decision, pursuant to Federal Rule of Civil Procedure
23(e), as to whether this Settlement is fair, reasonable, and adequate to settle the
Claims asserted in the Action by Named Plaintiff on behalf of herself and
Settlement Class Members against Defendants and whether the Court should
approve the Settlement.

1.2.18. “Fiduciary” or “Fiduciaries” shall have the meaning given to the
term in 29 U.S.C. § 1002@1).

1.2.19. “Final Approval Order and Judgment” has the meaning set forth in

Section 4.1.5 and shall be substantially in the form attached hereto as Exhibit 5.

1.2.20. “Named Plaintiff’? means Wema Hoover, the plaintiff in the Action.
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 7 of 28 PagelD: 538

1.2.21. “Preliminary Approval Order” has the meaning set forth in Section

4.1 and shall be substantially in the form attached hereto as Exhibit 4.

1.2.22, “Preliminary Approval Motion” has the meaning set forth in Section

4.1.1 and shall be substantially in the form attached hereto as Exhibit 3.

1.2.23. “Qrder Appointing Special Master” means the November 18, 2016

Stipulation and Order Appointing Special Master entered in this Action and
attached hereto as Exhibit 2.

1.2.24. “Person” means an individual, corporation, partnership, limited
partnership, association, estate, legal representative, trust, unincorporated
association, government or any political subdivision or agency thereof, and any
other business or legal entity.

1.2.25. “Parties” means Named Plaintiff and Defendants.

1.2.26, “Participant(sy’ shall have the meaning given to the term in 29

U.S.C. § 1002(7), and shall expressly include any Beneficiaries that were, at any
time during Class Period, eligible for any benefits from or through the ESOP.

1.2.27. “Released Claims” means (i) all Claims, including Unknown

Claims, arising under or relating to the ESOP that were asserted, or could have
been asserted, in this Action by the Parties and/or Settlement Class Members; and

(ii) all Claims, including Unknown Claims, that Named Plaintiff, on the one hand,
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 8 of 28 PagelD: 539

and any Defendant, on the other hand, may have against the other side. Claims to

enforce the Settlement are not included in the definition of “Released Claims”.

1.2.28. “Released Persons” means each of the Defendants, including any

Defendant’s officers, directors, employees, and agents, and Settlement Class
Members and their agents.

4,2.29, “Settlement” means the settlement to be consummated under this
Settlement Agreement pursuant to the Final Approval Order and Judgment.

1.2.30. “Settlement Class” means all Persons who were Participants in the

ESOP during the Class Period, not including Defendants, any officer or director of
Brijon, and any immediate family member of a Defendant or any officer or director
of Brijon.

1.2.31. “Settlement Class Member” or “Settlement Class Members” means

any Person who falls within the definition of the Settlement Class, including the

Named Plaintiff.

1.2.32. “Settlement Memorandum of Understandine” means the document

attached hereto as Exhibit 1 and entitled the “Hoover v. Brijon, et al. Settlement
Memorandum of Understanding” which was entered into by the Parties following a
mediation which took place on May 18, 2016 with JAMS Mediator Jed D.

Melnick, Esq.
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 9 of 28 PagelD: 540

1.2.33. “Special Master” means Michael Eggers, a business valuation

specialist, who the Parties jointly requested be appointed by the Court for the
purpose of determining the fair market value of the Brijon stock held by the Brijon
ESOP as of the date of the sale of that stock to CarolBri and who was so appointed
by the Court on November 18, 2016 in the Order Appointing Special Master.

1.2.34. “Special Master Report” shall mean the Special Master Report

prepared by the Special Master on or about February 3, 2017, and which, on
February 17, 2017 and pursuant to the Settlement Memorandum of Understanding
and the Order Appointing Special Master, became a final and binding
determination of the fair market value of the Brijon stock held by the ESOP as of
the date of the sale of that stock to CarolBri.

1.2.35. “Unknown Claims” means any and all Claims which Settlement

Class Members and/or Defendants do not know or suspect to exist in his, her or its
favor on or before the Effective Date of Settlement. The Parties stipulate and agree
that, upon the Effective Date of Settlement, Named Plaintiff and all other
Settlement Class Members and Defendants shall be deemed to have waived, and by
operation of the Final Approval Order and Judgment, shall have waived, any and
all provisions, rights and benefits conferred by any law of any state or territory of

the United States, or any principle of common law or foreign law, which is similar,
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 10 of 28 PagelD: 541

comparable or equivalent to California Civil Code § 1542, which provides:
A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN —
HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH

THE DEBTOR.
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 11 of 28 PagelD: 542

The Parties acknowledge, and the Settlement Class Members shall be
deemed by operation of law to have acknowledged, that they may hereafter
discover facts in addition to, or different from, those facts which they know or
believe to be true with respect to the subject matter of this Settlement, but that it is
their intention to release and settle fully, finally, and forever any and all of the
Released Claims, subject to the terms and conditions provided herein, and in
furtherance of such intention, the releases shall be and remain in effect
notwithstanding the discovery or existence of any such additional or different facts.
The Parties acknowledge, and each of the other Settlement Class Members shall be
deemed by operation of law to have acknowledged, that the foregoing waiver was
specifically bargained for and is a key element of the Settlement.

2. RECITALS |
2.1. On behalf of herself and the Settlement Class Members, Named

Plaintiff filed the Complaint in this Action asserting various claims for relief under
ERISA. The primary claim in the Action relates to Named Plaintiff's allegation
that Defendants violated ERISA by failing to ensure that the ESOP received fair
market value for the Brijon stock it sold to CarolBri in or around August 2011.

' 2.2. Defendants dispute the claims asserted in the Action and deny any

wrongdoing, including any alleged breach of fiduciary duty. Defendants also

10

Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 12 of 28 PagelD: 543

specifically deny any wrongdoing in connection with the sale of the Brijon stock
held by the ESOP to CarolBri in or around August 2011.

2.3. Class Counsel have conducted an extensive investigation and
evaluation of the facts and law relating to the claims asserted in the Action to
determine how to best serve the interests of Named Plaintiff and the Settlement
Class Members. Defendants’ counsel have also conducted similar investigations
on behalf of their respective clients.

2.4, Named Plaintiff, individually and on behalf of the Settlement Class
Members, on the one hand, and Defendants, on the other hand, wish to amicably
end and bring to rest the protracted litigation, disputes and claims between them in
their respective best interests.

2.5. Counsel for the Parties have engaged in extensive arm’s-length
negotiations prior to entering into this Settlement Agreement, including
participating in a mediation with JAMS Mediator Jed D. Melnick, Esq., an
individual experienced in mediating complex ERISA actions, on May 18, 2016.
This mediation ultimately resulted in the Parties entering into the Settlement
Memorandum of Understanding and consenting to the Order Appointing Special

Master.

11
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 13 of 28 PagelD: 544

2.6. This Settlement Agreement sets forth the terms and conditions for a
proposed settlement of this Action and is consistent with the findings of the Special
Master who determined that the amount of money that CarolBri paid the ESOP for
the Brijon stock at issue in August 2011 “was at or exceeded the fair market value
of the stock as of the date of the [stock] transaction.” Pursuant to the Order
Appointing Special Master, the Special Master’s finding constitutes “a final and
binding determination of the fair market value of the [Brijon] stock as of the date
of the transaction at issue” in this Action.

2.7, Named Plaintiff and Class Counsel believe that this Settlement
Agreement, including the identification of Settlement Class Members and the
procedure for notifying Settlement Class Members of the Settlement, is fair,
reasonable and adequate, and agree to settle the Action, pursuant to the provisions
of this Settlement Agreement, after considering such factors as the findings of the
Special Master, the benefits to Named Plaintiff and the Settlement Class Members
under the terms of this Settlement Agreement, and the attendant risks and |
uncertainties of litigation.

2.8. By reaching the Settlement, which is memorialized in its entirety in
this Settlement Agreement, none of the Defendants admit or concede any

wrongdoing, liability or.improper conduct of any. nature in connection with any

12
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 14 of 28 PagelD: 545

facts or claims that have been or could have been raised against any one or more of
them in the Action, or in any other forum. Defendants consider it desirable for the
Action to be settled and dismissed because the proposed settlement will (1) finally
resolve the issues presented by the Action; and (2) put Named Plaintiff's Claims
and the underlying matters at issue in this Action to rest without further undue
delay or expense to the Parties.

NOW THEREFORE, in light of the foregoing, and in consideration of the
mutual promises, agreements and covenants contained herein, the sufficiency and
receipt of which are hereby acknowledged, it is hereby stipulated and agreed, by,
between and among the Parties, that the Action and the matters raised by it hereby
will be settled, compromised, and dismissed on the merits and with prejudice on
the following terms and conditions, subject to the approval of the Court and the
terms set forth herein.

3. SCOPE OF SETTLEMENT CLASS

3.1. Scope of the Settlement Class. Upon entry of the Final Approval

Order and Judgment, this Settlement Agreement shall settle, compromise, and
resolve all Released Claims and shall apply to Named Plaintiff and all Settlement

Class Members.

13
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 15 of 28 PagelD: 546

3.2. Materiality of Scope of Settlement and Settlement Class. Without

limiting any term hereof, the Parties understand and agree that Defendants would
not enter into this Settlement Agreement were it not for the understanding that the
Action and Released Claims are being fully and finally compromised and settled
and that all Settlement Class Members will be bound by this Settlement.

3.3. .No Admission or Waiver. The Parties enter into this Settlement

Agreement solely to terminate all controversies regarding the matters settled and
compromised, and to avoid the expense, inconvenience, and delay of further
litigation, without any admission of any liability whatsoever by Defendants.
Neither this Settlement Agreement, nor any exhibit or document referenced herein
and/or attached hereto (all of which are an integral part of the Settlement and are
hereby incorporated in their entirety by reference), nor any action taken to reach, ©
effectuate, or further this Settlement Agreement or the Settlement, may be
construed as, or may be used as an admission by or against any of the Parties, of
any fault, wrongdoing or liability whatsoever, or as a waiver or limitation of any

defense.

4. CONDITIONS AND OBLIGATIONS RELATING TO THE
EFFECTIVENESS OF THE SETTLEMENT

14
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 16 of 28 PagelD: 547

The Parties shall have the following obligations, and the Settlement is
contingent on the conditions set forth in Sections 4.1 through 4.4, inclusive, unless
waived in writing by the Parties.

4.1. Condition #1: Court Approval. The Court will be notified as soon as

practicable of the execution of the Settlement Agreement and of the relevant terms
regarding the effectuation of the Settlement. The Parties’ rights and obligations
under the Settlement are contingent upon and subject to the Final Approval Order
and Judgment being entered by the Court and becoming Final. The Parties shall
seek from the Court (i) preliminary approval of the terms of the Settlement, (ii)
preliminary certification of the Settlement Class pursuant to Federal Rule of Civil
Procedure 23(a) and 23(b)(1), (iti) approval of the form of Class Notice of the

Settlement, and (iv) the scheduling of Fairness Hearing date for Final approval of
the Settlement as fair, reasonable, and adequate, with appropriate time allowed for
objection(s) from the Settlement Class Members.

4.1.1. Motion for Preliminary Approval of Settlement, Class Certification,

and Notices. Class Counsel, on behalf of Named Plaintiff, shall seek an order
preliminarily approving the Settlement and the Parties shall, in good faith, take
reasonable steps to (i) secure Court entry of the Preliminary Approval Order; and

(ii) seek the scheduling of a Fairness Hearing. The Parties agree that the
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 17 of 28 PagelD: 548

Preliminary Approval Motion shall be filed on or before May 31, 2017 and shall be
substantially in the form attached hereto as Exhibit 3.

4.1.2. Class Action Fairness Act Notice. Within five (5) business days after

the filing of the Preliminary Approval Motion, Defendants shall prepare and
provide notice of the proposed Settlement as required under the Class Action

Faimess Act, 28 U.S.C. § 1715, to the Attorneys General of the United States and

all states in which members of the Settlement Class reside (“CAFA Notice

Recipients’).

4.1.3. Class Certification. In connection with the proceedings on the

preliminary and Final approval of the proposed Settlement, Named Plaintiff,
through Class Counsel, will seek orders (preliminary and Final, respectively),
certifying the Settlement Class pursuant to Federal Rule of Civil Procedure 23(a)
and 23(b)(1) and Defendants shall consent to certification of the Settlement Class
for purposes of this Settlement only and for no other purpose. The Parties agree
that the Settlement Class should be treated as a mandatory or non-opt-out class.
The Parties also agree that if the Court does not enter the Final Approval Order and
Judgment, no Settlement Class will be deemed to have been certified by or as a
result of this Settlement Agreement, and the Action will for all purposes with

respect to the Parties revert to its status as of February 17, 2017, such that the

16
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 + Page 18 of 28 PagelD: 549

findings of the Special Master contained in the Special Master Report will remain
final and binding on all Parties and in the Action. In such event, Defendants will
not be deemed to have consented to the certification of any class, the agreements
and stipulations in this Settlement Agreement conceming class definition or class
certification shall not be used as evidence or argument to support class certification
or class definition, and Defendants will retain all rights to oppose certification of
the Settlement Class and otherwise to defend against the Action.

4.1.4, Issuance Of Class Notice. As ordered by the Court in its Preliminary

Approval Order, Class Notice shall be disseminated to the Settlement Class
Members, who shall be provided with the opportunity to object to the certification
of the Settlement Class and the Settlement. On the timetable and in the manner set
by the Court in the Preliminary Approval Order, the Claims Administrator shall
disseminate notice to the Settlement Class. Defendants shall use their best
reasonable efforts to provide to the Claims Administrator a list of the names and
last known addresses of all Settlement Class Members in electronic format within
ten (10) business days of the filing of the Preliminary Approval Motion. All costs
of the Claims Administrator shall be paid by Defendants.

4.1.5. The Fairness Hearing. Upon entry of the Preliminary Approval

Order, the Parties contemplate that the Court will schedule and then later conduct a

17
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 + Page 19 of 28 PagelD: 550

Fairness Hearing at which it will consider whether the Settlement is fair,
reasonable, and adequate pursuant to Rule 23 of the Federal Rules of Civil

_ Procedure. The Parties agree to support entry of a Final Approval Order and
Judgment in the form attached hereto as Exhibit 5.

4.2. Condition #2: Dismissal of the Action. The Action shall have been

dismissed with prejudice against Defendants as provided for in the Final Approval
Order and Judgment.

4.3. Condition #3: Finality of Final Order. The Final Approval Order and

Judgment shall have become Final.

4.4, Condition #4: Resolution of any Objections. In the event that the

DOL, any CAFA Notice Recipient, or any recipient of the Class Notice objects to
and/or requests material modifications to the Settlement, Class Counsel agree to
work cooperatively with Defendants with regard to any such objection(s) or
requested material modifications but no Party shall have any obligation to alter any
material term or condition of the Settlement. In the event such objection(s) or
requested material modifications are not overcome, Defendants shall have the right
to terminate the Settlement Agreement pursuant to its applicable procedures.

5. EFFECT OF ENTRY OF FINAL APPROVAL ORDER AND
JUDGMENT

18
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 20 of 28 PagelD: 551

5.1. Release. Upon the Effective Date of Settlement, the Parties and all
Settlement Class Members shall be deemed to have, and by operation of the Final
Approval Order and Judgment shall have, fully, finally, and forever released,
relinquished, waived, and discharged the Released Claims against each of the

Released Persons.

6. CLAIMS ADMINISTRATION

6.1. The Claims Administrator shall be engaged by the Parties to perform _
certain functions as directed by the Court, including effectuating the delivery of
Class Notice discussed in Section 4.1.4 and in the Preliminary Approval Order
attached hereto as Exhibit 4.

6.2. The actual and reasonable expenses incurred by the Claims
Administrator in connection with the performance of the functions identified in this
Settlement Agreement shall be paid by Defendants.

7. REPRESENTATIONS AND WARRANTIES

7.1. Parties’ Representations and Warranties.

7.1.1. Named Plaintiff and Class Counsel represent and warrant that none of
Named Plaintiff's Released Claims have been or will be assigned, encumbered or
in any manner transferred in whole or in part.

7.1.2. The Parties each represent and warrant that they are voluntarily

entering into this Settlement Agreement as a result of arm’s-length negotiations

19
_ Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 + Page 21 of 28 PagelD: 552 >

among their counsel and, in executing this Settlement Agreement, they are relying
solely upon their own judgment, belief, and knowledge, and the advice and
recommendations of their own independently selected counsel, concerning the
nature, extent, and duration of their rights and claims hereto and all matters which
relate in any way to the subject matter hereof.

7.1.3, The Parties each represent and warrant that they have carefully read
the contents of this Settlement Agreement; they have made such investigation of
the facts pertaining to the Settlement, this Settlement Agreement and all of the
matters pertaining thereto as they deem necessary; and this Settlement Agreement
is signed freely by each Person executing this Settlement Agreement on behalf of
each of the Parties.

7.2. Signatories’ Representations and Warranties. All counsel and any

other Person executing this Settlement Agreement and any related Settlement
documents warrant and represent that they have the full authority to do so in the
capacities stated therein, and that they have the authority to take appropriate action
in such capacities required to be taken pursuant to the Settlement Agreement to
effectuate its terms.

8 ADDITIONAL TERMS

20
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 22 of 28 PagelD: 553

8.1. Strict Performance: No Waiver. Any failure by any of the Parties to

insist upon the strict performance by any of the other Parties of any of the
provisions of this Settlement Agreement shall not be deemed a waiver of any of the
provisions of this Settlement Agreement, and such Party, notwithstanding such
failure, shall have the right thereafter to insist upon the specific performance of any
and all of the provisions of this Settlement Agreement.

8.2. Best Reasonable Efforts. The Parties shall cooperate fully with each

other, and shall use their best reasonable efforts to obtain Court approval of this

Settlement Agreement and all of its terms.

8.3. Other Proceedings. Without limiting the generality of any other term
hereof, neither Named Plaintiff nor Class Counsel shall institute, refer, investigate
or pursue any civil, regulatory or administrative proceedings against Defendants,

or any other Released Person, based on the Released Claims.

8.4. Arm’s-Length Transaction: Joint Participation. The Parties have
negotiated all the terms and conditions of this Settlement Agreement at arm’s-
length. The exact wording, language, form and structure of the exhibits also have
been negotiated at arm’s-length. Each Party participated jointly in the drafting of
this Settlement Agreement and, therefore, the terms of this Settlement Agreement _

are not intended to be construed against any Party by virtue of draftsmanship.

21
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 23 of 28 PagelD: 554

8.5. Defendants’ Right To Termination. All terms, conditions, and exhibits

in their exact form are material to this Settlement Agreement and have been relied
upon by the Parties in entering into this Settlement Agreement. If the Court on
request of any Person, or sua sponte, materially modifies, adds to or alters any of
the terms, conditions, or exhibits of this Settlement Agreement, then this
Settlement Agreement shall become voidable at the request of Defendants and
Defendants shall have the right to terminate this Settlement Agreement and declare
it to be of no further effect by filing with the Court a notice of withdrawal from
Settlement within ten (10) days of receiving notification of any material
modifications or alterations to any of the terms, conditions, or exhibits of this
Settlement Agreement. Defendant Besler shall also have the right, in his sole
discretion, to terminate this Settlement Agreement, in its entirety, if, before entry
of the Final Approval Order and Judgment, the DOL (i) moves to intervene in the
Action; (ii) informs any Defendant that it opposes the Settlement of the Action;
(iii) files any objection to the Settlement Agreement; (iv) asserts a Released Claim
or any Claim on behalf of the ESOP or any Participant in any legal proceeding
against any Defendant or any other Released Person; or (v) notifies any Defendant
that it intends to file such a claim. Upon any termination of the Settlement

Agreement, the Settlement and Settlement Agreement shall become null and void.

22
Case 3:14-cv-05786-DEA Document 80-1 ‘Filed 05/31/17 +=Page 24 of 28 PagelD: 555

8.6. Attorneys’ Fees. Neither Class Counsel nor Defendants’ counsel shall

make any application to the Court for an award of attorneys’ fees, costs or
expenses.

8.7. Counterparts. This Settlement Agreement may be executed in several
counterparts, each of which shall constitute an original and all of which together
shall constitute one and the same instrument.

8.8. Further Acts. Each of the Parties, upon the request of any other of the
Parties hereto, agrees to perform such further acts and to execute and deliver such
other documents as are reasonably necessary to carry out the provisions of this

Settlement Agreement.

8.9. Court's Continuing Jurisdiction. The Parties each agree that the Court

in which the Action is pending shall have continuing jurisdiction to enforce the
terms of this Settlement Agreement and the Settlement.

8.10. Captions, The captions or headings of the sections and paragraphs of
this Settlement Agreement have been inserted for convenience of reference only
and shall have no effect upon the construction or interpretation of any part of this
Settlement Agreement.

8.11. Governing Law. Any issue or matter related to or arising out of this

Settlement Agreement, including, without limitation, the construction and

23

Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 25 of 28 PagelD: 556

interpretation of its terms, that would be governed by State law shall be governed
by and interpreted according to the substance and law of the State of New Jersey,
excluding its conflict of laws provisions.

8.12. Notice. Except as otherwise set forth herein, whenever this
Settlement Agreement requires or contemplates that the Parties, or any of them,
shall or may give notice to the other, notice shall be provided by email and either

_ overnight delivery or first class U.S. mail as follows:

Ifto Named Plaintiff or Settlement Class Members:

Daniel Feinberg, Esq.

Feinberg Jackson Worthman & Wasow, LLP
383 4th Street, Suite 201

Oakland, California 94607
Dan@feinbergjackson.com

Ifto Defendants:

Kristine J. Feher, Esq.
Greenberg Traurig, LLP.

200 Park Avenue

Florham Park, New Jersey 07932
FeherK @gtlaw.com

Todd D. Wozniak, Esq.
Greenberg Traurig, LLP

24
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 26 of 28 PagelD: 557

3333 Piedmont Road NE, Suite 2500
Atlanta, Georgia 30305
WozniakT(@gtlaw.com

Jonathan E. Hill, Esq.

The Law Office of Jonathan E. Hill
52 South Street, Second Floor
‘Morristown, New Jersey 07960
jhill@jehlawfirm.com

8.13. Entire Agreement: Waiver, Modification, Amendment. No

representations, warranties, or inducements have been made to any of the Parties to
this Settlement Agreement, other than those representations, warranties, and
covenants expressly set forth in this Settlement Agreement. This Settlement
Agreement and the Exhibits attached hereto constitute the entire agreement
between the Parties with regard to the subject matter contained herein, and all prior
negotiations and understandings between the Parties shall be deemed merged into
this Settlement Agreement. No waiver, modification, or amendment of the terms
of this Settlement Agreement, made before or after the Court’s approval of this
Settlement Agreement, shall be valid or binding unless in writing, signed by all
Parties, and then only to the extent set forth in such written waiver, modification,
or amendment.

IN WITNESS WHEREOE, this Settlement Agreement has been executed as

of the date written below, by the undersigned counsel of record for the Parties |

25

Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 27 of 28 PagelD: 558

hereto and/or by the Parties themselves in multiple counterparts, each of which

shall be deemed an original.

For Named Plaintiff / ,
Date: s/ir /i2 By: \i ew
“wt 7 v NN \
Danie] Feinberg, Esq.
Feinberg Jackson Worthman
& Wasow LLP

383 4th Street, Suite 201
Oakland, California 94607
§10-269-7998 (Phone)

For Defendant Michael Mullaugh

Date: Ghahx By: Jy /\ =.
Jonthabr E. Hall, Esq.
pea Law Office of Jonathan E. Hill
52 South Street, Second Floor
Morristown, New Jersey 07960
973-898-1119 (Phone)

26
Case 3:14-cv-05786-DEA Document 80-1 Filed 05/31/17 Page 28 of 28 PagelD: 559

For Defendant Michael Mullaugh

Date: By:

Jonathan E. Hill, Esq.

The Law Office of Jonathan E. Hill
§2 South Street, Second Floor
Morristown, New Jersey 07960
973-898-1119 (Phone)

For Defendants Besler, Brijon,
BeslerCo, CarolBri, and
the Committee

Date: 17 /g0l7

678-553-7326 (Phone)

26
